Case 1:17-cr-20156-FAM Document 40 Entered on FLSD Docket 07/21/2017 Page 1 of 1



                                                 UNITED STATES DISTRICT COURT
                                                 SOU TH ERN D ISTRICT OF FLO RIDA

                                                 CA SE N O .17-20156-C R -M O R EN O

  UNITED STATES OF AM ERICA,
            Plaintiff,
  VS.

  CH RISTOPH ER SCOTT VEG A,
             D efendant.
                                    /

             O R DE R G R AN TIN G M O TIO N FO R D O W N W A R D DE PAR TU R E

         THIS CAUSE came beforethe Courtupon govem ment'smotion fordownward departtlre

  ID.E.#371andasentencinghearingbeingheldon September19,2017,itis
         ORDERED and ADJUDGED thatsaid motion isGR ANTED.
         DONE and ORDERE in Open Courtin M iam i-Dade County this 19thday ofJuly, 2017

    d signedthis          / dayofJuly,2017.
                                                                 'K
                                                               .c.


                                                         r:
                                                    J                 .

                                                    M
                                          FEDE          A.M CA NO
                                          > 1 D STATES DISTRICT JUDGE




  Copies f'urnished to:

  A lIcounselofrecord
